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 IT IS ORDERED as set forth below:



 Date: April 6, 2021
                                              _____________________________________
                                                          James R. Sacca
                                                    U.S. Bankruptcy Court Judge

 _______________________________________________________________




                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                              GAINESVILLE DIVISION

CROWN ASSETS, LLC,                    )               Case No. 20-21451-JRS
                                      )
Debtor.                               )
SAHIB ARORA, VINEET SINGH,            )               Removed Case:
KING GROUP MGMT, LLC,                 )               Fulton County, Superior Court
MAHARAJA INVESTMENTS, LLC,            )               Case no. 2020cv339119
& ZILLIONAIRE ASSETS, LLC,            )
                                      )
     Plaintiffs,                      )
v.                                    )
CHARANJEEV SINGH,                     )               Adversary Proceeding No.
KARAN S. AHUJA,                       )               20-02041-JRS
JARNAIL SINGH,                        )
JONIKA ARORA,                         )
CROWN ASSETS, LLC,                    )
2551 E PINETREE BLVD MGMT LLC,        )
2551 EAST PINETREE BLVD LLC,          )
4319 COVINGTON HWY LLC,               )
140 W DYKES STREET LLC,               )
1604 E OGLETHORPE BLVD LLC,           )
KING ASSETS, LLC, &                   )
2505 S MAIN STREET, LLC,              )
                                      )
     Defendants.                      )


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                ORDER DENYING DEFENDANTS MOTION TO DISMISS

       The matter before the Court is Defendants’ Motion to Dismiss in Part (the “Motion”) filed

on October 28, 2020 [Adv. Doc. 20]. Plaintiffs filed a Response in Opposition on November 17,

2020 [Adv. Doc. 26]. Defendants filed a Reply in Support of the Motion [Adv. Doc. 35] and

Plaintiffs filed a court-permitted Surreply [Adv. Doc. 44]. Oral argument on the Motion was held

on January 26, 2021 after which the Court requested additional briefing on several issues.

Supplemental Briefs and Responses were filed by the Defendants [Adv. Docs. 54, 70] and the

Plaintiffs [Adv. Docs. 55, 71]. After considering all matters of record and for the reasons stated in

the hearing on April 6, 2021, it is hereby

       ORDERED that the Motion to Dismiss is DENIED without prejudice.



The Clerk is directed to serve this Order on Plaintiffs, Plaintiffs’ counsel, Defendants, and

Defendants’ counsel.



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